         Case 1:19-cv-00778-CJN Document 20-4 Filed 08/19/19 Page 1 of 1



                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


CAUSE OF ACTION INSTITUTE,

                  Plaintiff,

                          v.                         Civ. A. No. 19-0778 (CJN)

UNITED STATES DEPARTMENT OF
COMMERCE,

                  Defendant.



                                       [PROPOSED] ORDER

        Upon consideration of Defendant’s Motion for Summary Judgment and the memoranda

in support thereof and in opposition thereto, it is hereby ORDERED that Defendant’s Motion is

GRANTED.

        It is further ORDERED that JUDGMENT is entered in favor of Defendant on all claims

in this action.



Dated: _______________________                    ___________________________________
                                                  United States District Judge
